     Case 18-28300-MBK            Doc 4      Filed 09/13/18 Entered 09/14/18 10:09:58                Desc OSC
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Form oscmsdoc − oscmissdocv27

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 18−28300−MBK
                                         Chapter: 7
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Gary Novello
   1006 Papen Road
   Bridgewater, NJ 08807
Social Security No.:
   xxx−xx−6806
Employer's Tax I.D. No.:


                          ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE
                            DISMISSED FOR FAILURE TO FILE DOCUMENTS

             The Court having noted that the debtor filed a petition on September 13, 2018, and did not file the
following documents:

        Summary of Assets/Liabilities and Stat Info − Individuals, Declaration About An Individuals Schedule,
Statement of Financial Affairs For Individuals, Atty Disclosure Statement, Statement of Your Current Monthly
Income (122A−1), Means Test Calculation (122A−2) − If Applicable, Stmt of Exemption From Presumption of
Abuse (122A−1 Supp) − If Applicable, Schedules A/B,C,D,E/F,G,H,I,J,

             The court having noted that the debtor's case was converted to chapter 13 on , and that the Court's local
form, Chapter 13 Plan and Motions has not been filed,

     It is hereby

    ORDERED that the above document(s) must be received by the Clerk on or before 9/27/18 or the case will be
dismissed.

     If you object to dismissal you may file an Application to Extend Time to File Missing Documents or a written
request for a hearing with the Clerk of the Bankruptcy Court at the address above. The Application or request must
be received by the Clerk no later than 9/27/18.

     If an Application to Extend Time to File Missing Documents is filed, the Court will either grant or deny your
request and enter an order.

    If you file a written request for a hearing, you or your attorney must appear at a hearing to be held before the
Honorable Michael B. Kaplan on

Date: October 10, 2018
Time: 10:00 am
Location: Courtroom 8
Address: Clarkson S. Fisher Courthouse
           402 East State Street
           Trenton, NJ 08608−1507


IMPORTANT: THE MOST RECENT VERSION OF EACH DOCUMENT MUST BE FILED.
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Dated: September 14, 2018
JAN: wdr

                                              Michael B. Kaplan
                                              United States Bankruptcy Judge
